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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION

EKONG BEN ESHIET,                           :
                                            :
                      Petitioner,           :
                                            :
v.                                          :       CASE NO. 4:19-CV-98-CDL-MSH
                                            :             28 U.S.C. § 2241
WARDEN, Stewart Detention Center,           :
                                            :
                 Respondent.                :
_________________________________

                                           ORDER

       Petitioner filed an application for habeas corpus relief under 28 U.S.C. § 2241 (ECF

No. 1) on June 18, 2019, and submitted the requisite filing fee on July 1, 2019. Pursuant

to the memorandum of understanding with the United States Attorney for the Middle

District of Georgia, a copy of the petition and a copy of this Order shall be automatically

served on the United States Attorney and Respondent electronically through CM/ECF.

Respondent shall file his Return within three (3) days. See 28 U.S.C. § 2243. In his Return,

Respondent shall specifically state the statutory authority for Petitioner’s current detention.

Petitioner is notified that a failure to keep the Court apprised of any change of address may

result in a dismissal for failure to prosecute this action.

       SO ORDERED, this 1st day of July, 2019.

                                                /s/ Stephen Hyles
                                                UNITED STATES MAGISTRATE JUDGE
